






















IN THE COURT OF CRIMINAL APPEALS
OF TEXAS



NO. PD-1414-09




Donald Flint, Appellant

v.

THE STATE OF TEXAS



ON APPELLANT’S PETITION FOR DISCRETIONARY REVIEW
FROM THE SIXTH COURT OF APPEALS
BOWIE COUNTY



Per curiam.  Keasler, and Hervey, J.J., dissent.

O R D E R 

The petition for discretionary review violates Rule of Appellate Procedure 9.3(b) because
the original petition is not accompanied by 11 copies.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The petition is struck.  See Rule of Appellate Procedure 68.6.&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The petitioner may redraw the petition.  The redrawn petition must be filed in the
Court of Criminal Appeals within thirty days after the date of this order.
En banc.
Delivered: February 24, 2010



